                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                v.                            )
                                              )       3:12 CR 00159
CHAD EDWARD WARRICK,                          )       Judge Marvin E. Aspen
ANGELA CAMARDA, and                           )
CYNTHIA FAYE HEINZ,                           )
                                              )
                Defendants.                   )

                                             ORDER

         We hereby strike the sentencing hearings set for December 8, 2014 in this matter.

         The sentencing hearing for Defendant Angela Camarda will take place on Monday,

December 15, 2014 at 9:30 a.m., in Courtroom 783.

         The sentencing hearing for Defendant Chad Warrick will take place on Tuesday,

December 16, 2014 at 9:30 a.m. Defendant Cynthia Heinz’s sentencing hearing will take place

thereafter, on December 16, 2014 at 10:30 a.m.




                                                      SO ORDERED:



                                                      Marvin E. Aspen
                                                      United States District Judge




Dated:          September 29, 2014
                Chicago, Illinois




 Case 3:12-cr-00159           Document 102        Filed 09/29/14   Page 1 of 1 PageID #: 188
